           Case 19-04171-jw            Doc 4 Filed 08/08/19 Entered 08/08/19 15:48:04                        Desc
                                      Deficiency Notice (JW) BNC Page 1 of 1
                                                United States Bankruptcy Court
                                                   District of South Carolina


Case Number: 19−04171−jw                                       Chapter: 11

In re:
 Marc K. Knapp
                                                                                                     Filed By The Court
                                                      DEFICIENCY NOTICE                                    8/8/19
                                                                                                       Laura A. Austin
                                                                                                        Clerk of Court
                                                                                                     US Bankruptcy Court



To: Marc K. Knapp

You have submitted to the Court for filing a document, Chapter 11 Voluntary Petition, which was received on August 6, 2019.
The Chapter 11 Voluntary Petition is deficient for the following reason(s):

      The filing fee has not been paid (28 U.S.C. § 1930 and the Appendix thereto).
      No signature (written or conformed (shown by "/s/ John Doe")).
      Electronic event and image do not match. Explanation:
      Improper or no linkage of document. Explanation:
      No B121 Form (Your Statement About Your Social Security Number).

      The motion which should be noticed passively has not met all of the requirements of SC LBR 9013−4. Explanation:
      Statement of Monthly Income and Means Test Calculation not in accordance with Fed. R. Bankr. P. 1007.
      Filing not in accordance with official forms.
      Motion to Avoid Lien/Judicial Lien not in compliance with Court procedures. Please see CM/ECF Participant's Guide for
      Motion to Avoid Lien − Without Passive Hearing Notice.
      Other:

Please cure the deficiency by August 13, 2019.

Upon failure to cure, the Court may enter an order striking the document, dismissing the case/adversary proceeding, or
providing other adverse ruling without further notice or hearing.
                                                                             Laura A. Austin
                                                                             Clerk of Court
                                                                             United States Bankruptcy Court

                                                                             By: S Greene, Deputy Clerk
                                                                             1100 Laurel Street
                                                                             Columbia, SC 29201−2423
                                                                             (803) 765−5436
